Case 2:19-cv-00805-SPC-MRM Document 52 Filed 10/27/21 Page 1 of 2 PageID 209




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                         FORT MYERS DIVISION

GIHOSVANI RUIZ, and other
similarly situated individuals,

             Plaintiff,

v.                                               Case No: 2:19-cv-805-SPC-MRM

GILBERTO DIAZ,

              Defendant.
                                          /

                                        ORDER1

       Before the Court is Plaintiff Gihosvani Ruiz’s Notice of Intent to Proceed

with Case and Motion to Lift Stay. (Doc. 51). Because the Bankruptcy Court

has confirmed the bankruptcy plan and terminated the automatic stay, the

Court lifts the stay here, directs the parties to file a new case management

report, and refers the case to the assigned the Magistrate Judge to conduct a

preliminary pretrial conference. What is more, because Defendant Gilberto

Diaz is proceeding pro se, the Court encourages him to review its website for

information on proceeding without a lawyer.

       Accordingly, it is now



1 Disclaimer: Documents hyperlinked to CM/ECF are subject to PACER fees. By using
hyperlinks, the Court does not endorse, recommend, approve, or guarantee any third parties
or the services or products they provide, nor does it have any agreements with them. The
Court is also not responsible for a hyperlink’s availability and functionality, and a failed
hyperlink does not affect this Order.
Case 2:19-cv-00805-SPC-MRM Document 52 Filed 10/27/21 Page 2 of 2 PageID 210




      ORDERED:

      Plaintiff Gihosvani Ruiz’s Notice of Intent to Proceed with Case and

Motion to Lift Stay (Doc. 51) is GRANTED.

      (1) The Clerk is DIRECTED to lift the stay and remove the stay flag

          from the file.

      (2) The parties must jointly file a Uniform Case Management Report

          using the standard form available under the “Forms” tab on the

          undersigned’s website on or before November 29, 2021.

      (3) This case is REFERRED to the Honorable Mac R. McCoy to conduct

          a preliminary pretrial conference for the entry of an amended case

          management and scheduling order, or other orders as deemed

          appropriate.     All parties must appear at the conference and be

          prepared to discuss the claims, defenses, and any unique aspects of

          this case.

      DONE and ORDERED in Fort Myers, Florida on October 27, 2021.




Copies:      The Honorable Mac R. McCoy
             All Parties of Record




                                       2
